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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


IN RE GREAT LAKES DREDGE & DOCK                     No. 1:13-cv-02115
CORPORATION SECURITIES LITIGATION                   Honorable Charles R. Norgle, Sr.


            NOTICE OF UNOPPOSED MOTION TO EXTEND PAGE LIMIT

To:     All Counsel of Record

        PLEASE TAKE NOTICE that on Friday, October 11, 2013, at 9:30 am or as soon
thereafter as counsel may be heard, Defendants, through their counsel, will appear before the
Honorable Charles R. Norgle, Sr. or any judge sitting in his stead in Courtroom 2341, Everett
McKinley Dirksen Federal Courthouse, 219 S. Dearborn St., Chicago, IL 60604, and shall then
and there present the Unopposed Motion To Extend Page Limit.

Dated: October 2, 2013                                    Respectfully Submitted,

                                                          /s/ Walter C. Carlson
                                                          Walter C. Carlson (No. 3122257)
                                                          Hille R. Sheppard (No. 6226077)
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    Case: 1:13-cv-02115 Document #: 34 Filed: 10/02/13 Page 2 of 2 PageID #:240



                                 CERTIFICATE OF SERVICE

       John M. Skakun III, an attorney, hereby certifies that on October 2, 2013, he caused a

true and correct copy of the foregoing document to be filed electronically using the CM/ECF

system, which will send notice of this filing to counsel of record for Plaintiffs.

                                                              /s/ John M. Skakun III
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                                                              Chicago, IL 60603
